                  Case: 1:13-cr-00761 Document #: 374 Filed: 04/25/17 Page 1 of 9 PageID #:1866

                                                                                                                                            D
                                 UNITED STATES DISTRICT COURT
                                                        Northem District of Illinois


               TINITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                           v.

                            Cesar Marin                                          Number:
                                                                              Case                  13   CR76l-2
                                                                              USM Number:           46266-424



                                                                              Marci L. Sahinoglu
                                                                              Defendant's Attomey


THE DEFENDANT:
I    pleaded guilty to count(s) six and eleven
!    pleadednolo contendere tocount(s)            which was acceptedbythe court.
E    was found guilty on  count(s)        after a plea of not guilty.

The defendant is adiudicated guilty ofthese offenses:
Title & Section                       Nature of Offense                                                  Offense Ended
r8 u.s.c. s1343                       Wire Fraud                                                         1213v2008                    6
18 U.S.c. $1s12(c)(2)                 Obstruction of an official proceeding                              t0/1812012                   ll




The defendant is sentenced as provided in pages 2 through 7 ofthis judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
f]   fne defendant   has been found not guilty on count(s)

X    Count(s) any remaining counts are dismissed on the motion of the United States.

It is ordered that the defendant must notifr the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notiff the court and United States Attorney of material changes in economic circumstances.


                                                                                   4/25/2017




                                                                                   CHARLES R. NORGLE
                                                                                   Name and Title of Judge

                                                                                   APR z       s tuti
                          Case: 1:13-cr-00761
ILND 2458 (Rev.08/02/2016) Judgment in
                                                   Document #: 374 Filed: 04/25/17 Page 2 of 9 PageID #:1867
                                       a Criminal Case
Sheet 4   -   Probation                                                                                                          Judgment   -   Page 2 of 7

DEFENDANT: CESAR MARIN
CASENUMBER: 13 CR76l-2
                          MANDATORY CONDITIONS OF PROBATION PURSUANT TO                                           18 U.S.C $ 3s63(a)

                 The defendant shall be on probation for a term ofone (l) year on each ofCounts 6 and I        l, to run concurrently with each other.
                 The court imposes those conditions identified by checkmarks below:

During the term of probation:
X f tl           you shall not commit another Federal, State, or local crime during the term of probation.
X (2)            forafelony,
                  X        you shall pay restitution in the amount of $$,ffiffifiS .
                                                                                     "
                  n        you shall perform community service at the discretion of the probation officer; OR
                  tr       the court declines to impose this requirement due to the following extraordinary circumstances:
                           !    because it has imposed a fine.
                           E    4r" to the following circumstances that render this condition plainly unreasonable:
x    (3)         you shall not unlawfully possess a controlled substance.
n    (4)         you shall attend a public, private, or private nonprofit offender rehabiliktion program that has been approved by the court,
                 if an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                 domestic violence crime, as defined in $3561(b).1
n (5)            you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
                 probation and up to 104 periodic tests thereafter for use of a controlled substance. (This mandatory condition may be
                 ameliorated or suspended by the court for any defendant if reliable sentencing information indicates a low risk of future
                 substance abuse by the defendant.)
X (6)            you shall make restitution AND pay the assessment imposed. (See special conditions.)
x (7)            you shall notiff the court of any material change in your economic circumstances that might affect your ability to pay
                 restitution, fines, or special assessments.
n (8)            you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
                  16913).
X (9) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
n (tO) ifa fine is imposed, you shall pay the fine or adhere to the court-established schedule. (See special conditions.)
                   DISCRETIONARY CONDITIONS OF PROBATTON PURSUANT TO 18 U.S.C                                                    g 3563(b)

Discretionary Conditions.- The court orders that the abide by the following conditions during the term of probation, because such
conditions are reasonably related to the factors set forth in $ 3553(aXl) and (aX2) and are reasonably necessary for the purposes indicated in
$ 3553(aX2). The court imposes those conditions identified by checkmarks below:

During the term of probation:
E ttI            you shall provide financial support to any dependents if financially able.
X (2)            you shall make restitution as ordered in this judgment.
f] (3)           you shall give to the victims of the offense the notice ordered pursuant to the provisions of $   E,     as follows:
tr (4)           you shall seek, and work conscientiously at, lawful employment or pursue conscientiously i crcurs-e of study or vocational
                 training that will equip you for employment.
f] (5)           you shall refrain, in the case of an individual, from engaging in a specified occupation, business, or profession bearing a
                 reasonably direct relationship to the conduct constituting the offense, or engage in such a specified occupatio-n., business, or
                 profession only to a stated degree or under stated circumstances; (ifchecked, please indicate restriction(s)): .l:. -* .
f] (6)           you shall refrain from knowingly meeting or communicating with any person whom you know to Ue engageA;oi'ftanning to
                 be engaged, in criminal activity; and refrain from:
                 tr      visiting the following type of places:
                 n      knowingly meeting or communicating with the following persons: 1". ,., ,,.
f] (7)           you shall refrain from E any or     f]  excessive use of alcohol (difined as n    [iui"g a blood alcohol concentration greater
                 than 0.08; or   E         ), or any use ofa narcotic drug or other controlled substanci, as defined in S 102 ofthe Controlled
                 Substances Actol U.S.C. S 802), without a prescription by a licensed medical practitioner.
X tsi            you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
tr(e)                   you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                        include urine testing up to 104 tests per yeax.
                 n      you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                        the use of prescription medications.
                 tr     you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifu: fu,,j,-...)
E (tO)           (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nig-hts, weekends, orothti
                  Case:Judgment
ILND 2458 (Rev.08/022016) 1:13-cr-00761        Document
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Sheet 4   -   Probation                                                                                                                 Judgment- Page 3 of7

DEFENDANT: CESAR MARTN
CASENUMBER: 13 CR76l-2
                   intervals of time, totaling lt*1ffi Ino more than the lesser of one year or the term of imprisonment authorized for the
                   offense], during the first year ofthe term ofprobation.
E    (t       t)   (community confinement): you shall reside at, or participate in the program of a community corrections facility (including a
                   facility maintained or under contract to the Bureau of Prisons) for all or part of the term of probation, as follows
L] (12)            you shall work in community service    for         h9ur"s as directed by the court.
E (t:)             you shall reside in the following place or area: {l'ill|$[, or refrain from residing in a specified place or area:
X (t+)             you shall remain in the jurisdiction where you are being supervised, unless granted permission to leave by the court or a
                   probation officer.
X (tS)             you shall report to a probation officer as directed by the court or a probation officer.
X (t0) X                    you shall permit a probation officer to visit you   X   at any reasonable time   or   !   as   specified:
                            X   at home              E   atwork                     f]  at school                 E   at a community service location
                            X    other reasonable location specified by a probation officer.
                    tr       permit confiscation of any contraband observed in plain view of the probation offrcer
X (tZ)             you shall notiff a probation offrcer promptly, withinT2 hours, of any change in residence, employer, or workplace, and,
                   absent constitutional or other legal privilege, answer inquiries by a probation officer.
E (tg)             you shall noti$ a probation offrcer promptly, withinT2 hours, if arrested or questioned by a law enforcement officer.
E (tq)             (home confinement): you shall remain at your place of residence for a total of i.:i=;;imonths during nonworking hours.
                   [This condition may be imposed only as an alternative to incarceration.]
                   n       Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                           which shall be determined by a probation offrcer). As part of home confinement, you shall be placed on
                           electronic/location monitoring. Electronic monitoring shall ordinarily be used in connection with home detention as
                           it provides continuous monitoring of your whereabouts. Voice identification may be used in lieu of electronic
                           monitoring to monitor home confinement and provides for random monitoring of your whereabouts. If the offender
                           is unable to wear an electronic monitoring device due to health or medical reasons, it is recommended that home
                           confinement with voice identification be ordered, which will provide for random checks on your whereabouts. Home
                           detention with electronic monitoring or voice identification is not deemed appropriate and cannot be effectively
                           administered in cases in which the offender has no bona fide residence, has a history of violent behavior, serious
                           mental health problems, or substance abuse; has pending criminal charges elsewhere; requires frequent travel inside
                           or outside the district; or is required to work more than 60 hours per week.
                   tr      You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                           financially able to do so.
                   n       The Court waives the electronic/location monitoring component of this condition.
E    (ZO)          you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
                   District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                   and maintenance of a child or of a child and the parent with whom the child is living.
E    (Z t     )    (deportation): you shall be ordered deported by a United States district court, or United States magistrate judge, pursuant to
                   a stipulation entered into by you and the United States under S 238(dX5) of the Immigration and Nationality Act, except
                   that, in the absence of a stipulation, the United States district court or a United States magistrate judge may order
                   deportation as a condition of probation, if after notice and hearing pursuant to such section, the Attorney General
                   demonstrates by clear and convincing evidence that the alien is deportable.
8 QZ)              you shall satisff such other special conditions as ordered below.
f] (23)            (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                   without awarran! to a search ofyour person and any property, house, residence, vehicle, papers, computer, other electronic
                   communication or data storage devices or media, and effects, by any law enforcement or probation officer having
                   reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by you, and by any
                   probation offtcer in the lawful discharge of the officer's supervision functions (see special conditions section).
A Qq               other:

                            SPECIAL CONDITIONS OF PROBATTON PURSUANT TO 18 U.S.C.3563(bX22)
The court imposes those conditions identified by checkmarks below:

During the term of probation:

f] (l)             if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational Development
                   (GED) preparation course and seek to obtain a GED within the first year of supervision.
tr (2)             you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60 days
                   of placement on supervision.
X t:l              if unemployed after the f,rst 60 days of supervision, or if unemployed for 60 days after termination or lay-off from
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ILND 2458 (Rev.08/02l2016) Judgment in
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                                       a Criminal Case
Sheet 4   -   Probation                                                                                                        Judgment   -   Page 4 of 7

DEFENDANT: CESAR MARIN
CASENUMBER: 13 CR76l-2
                  employment, you shall perform at least 20 hours of community service per week at the direction of the U.S. Probation
                 Office until gainfully employed.
tr t+l           you shall not maintain employment where you have access to other individual's personal information, including, but not
                 limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation offrcer.
X tSl            you shall not incur new credit charges or open additional lines of credit without the approval ola probation officer unless
                 you are in compliance with the frnancial obligations imposed by this judgment.
X (6)            you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                 with other conditions or of supervised release.
X (7)            you shall noti8/ the court of any material change in your economic circumstances that might affect your ability to pay
                  restitution, fines, or special assessments.
x (8)            you shall provide documentation to the IRS and pay taxes as required by law.
tr (9)           you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                  probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                 testing. You shall maintain use of all prescribed medications.
                  tr       you shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                           United States Probation Office. You shall consent to the installation of computer monitoring software on all
                           identified computers to which the has access. The software may restrict and/or record any and all activity on the
                           computer, including the capture of keystrokes, application information, Internet use history, email correspondence,
                           and chat conversations. A notice will be placed on the computer at the time of installation to warn others of the
                           existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or in any way
                           circumvent the software.
                  tr       The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able subject to
                           satisfaction of other financial obligations imposed by this judgment.
                 tr       You shall not possess or use any device with access to any oniine computer service at any location (including place
                          of employment) without the prior approval of a probation officer. This includes any Internet service provider,
                          bulletin board system or any other public or private network or email system.
                 tr       You shall not possess any device that could be used for covert photogriphy without the prior approval ofa probation
                          offrcer.
                 n        You shall not view or possess child pomography. If the treatment provider determines that exposure to other
                          sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely to
                          assist the treatment process, such proposed conditions shall be promptly presented to the court, for a determination,
                          pursuant to 18 U.S.C. $ 3583(eX2)' regarding whether to enlarge or otherwise modi$ the conditions of supervision
                          to include conditions consistent with the recommendations of tle treafinent provider.
                 tr       You shall not without the approval of a probation officer and treatment provider, engage in activities that will put
                          you in unsupervised private contact with any person under the age of 18, or frequent Iocations where children
                          regularlV congregate (e.g. locations specified in the Sex Offende.r Registration and Notification Act.)
                          tr       This condition does not apply to your family members: l;.      pNamesl
                 tr       Your employment shall be restricted to the districtand division wtrere you."iide or are supervised, unless approval
                          is granted by a probation officer. Prior to accepting any form of employment, you shall seek the approval of a
                          probation officer, in order to allow a probation officer the opportunity to assess the level of risk to the community
                         you will pose if employed in a particular capacity. You shall not participate in any volunteer activity that may cause
                         you to come into direct contact with children except under circumstances approved in advance by a probation officer
                          and treatment provider.
                 tr       You shall provide a probation offtcer with copies of your telephone bills, all credit card statements/receipts, and any
                          other financial information requested.
                 tr      You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                          impose restrictions beyond those set forth in this order.
x    (10)        You shall pay any financial penalty that is imposed by this judgment that remains unpaid.pt the commencement of the term
                 of probation. Your monthly payment schedule shall be an amount that is at least         $ ,         or l0"r/o of your net monthly
                 income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                 employment-related expenses.
tr   (l   l)     You shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                 permission of the court.
tr   (12)        You shall repay the United States "buy money" in the amount of $ , + ;' r, which you received during the commission of this
                 offense.
n    (13)        if the probation officer determines that you pose a risk to another person (including an organization or members of the
                 community), the probation offtcer may require you to tell the person about the risk, and you must comply with that
                 instruction. Such notification could include advising the person about your record ofarrests and convictions and substance
                 use. The probation officer may contact the person and confirm that you have told the person about the risk.
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ILND 2458 (Rrv.08/022016) Judgnent in aCriminal Case
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Sheet 4   -   Probation                                                                         Judgment-Page 5 of7
DEFENDANIT: CESAR MARIN
CASE NUMBER: 13 CR76L-2
tr (14) other:            ffi
                   Case: 1:13-cr-00761       Document #: 374 Filed: 04/25/17 Page 6 of 9 PageID #:1871
                                 a Criminal Case
ILND 2458 (Rev. 08/0212016) Judgment in
Sheet 5 - Criminal Monetary Penalties                                                                                         Judgment   -   Page 6 of 7

DEFENDANT: CESAR MARIN
CASENUMBER: 13 CR76l-2
                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                  Assessment                                                Fine                       Restitution
 Totals                           $200.00                                                   $0.00                      $1,960,818



E    fne determination of restitution is defened     until        . An Amended Judgment in a Criminal Case (Ao 24sC) will be entered after such
     determination.

[l   fne defendant must make restitution (including community restitution) to the following       payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(i), all nonfederal victims must be paid
     before the United States is paid.

     Name of Payee                                        Total Loss*               Restitution Ordered                        Priority or
                                                                                                                               Percentage
     *See attached list                                   $1,960,818                $1,960,818




                                              Totals:     $1,960,819                $1,9601818


     tr         Restitution amount ordered pursuant to plea agreement $

     n          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to 18 U.S.C. g 3612(9).

     tr         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                X         the interest requirement is waived for the restitution.

                tr        the interest requirement for   the      is modified as follows:

       n        The defendant's non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
                obligations.


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
                                                                                                                offenses committed on or
after September 13, 1994, but before April23, 1996.
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ILND 2458 (Rev. 08/02l/2016) Judgment in
                                              Document #: 374 Filed: 04/25/17 Page 9 of 9 PageID #:1874
                                   a Criminal Case
Sheet 6 - Schedule of Payments                                                                                                          Judgment   -   Page 7 of 7
DEFENDANT: CESAR MARIN
CASENUMBER: 13 CR76l-2
                                                         SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A        !      Lump sum payment of          $        due immediately.

                 n        balance due not later     than            , or

                 n        bahnce due in accordance with         E      C,   E   D,   E   E, or   ! r below; or
B        X      Payment to begin immediately (may be combined with                   !    C,   E      ! f below); or
                                                                                                   D, or

C        tr     Payment in   equal            (e.g. weekly, monthly, quarterly)          installments of $    over a period of        (e.g., months    oryears),to
                commence            (e.5., 30 or 60 days) after the dateof this judgment; or

D        tr     Payment in   equal            (e.g. weekly, monthly, quarterly) installments of            S     over a period   of   (e.g., months    oryears),to
                commence            (e.g.,   j0 or 60 days) after   release from imprisonment to a term of supervision; or

E        tr     Payment during the term of supervised release will commence                      within
                                                                                          (e.g., 30 or 60 days) after release from imprisonment.
                The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

F        X      Special instructions regarding the payment of criminal monetary penalties:
                The fine as well as any costs of supervision are waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

X        Joint and Several

Case    Number                                       Total   Amount                          Several
                                                                                         Joint and                  Corresponding Payee,   if
Defendant and co-Defendant Names                                                         Amount                     Appropriate
(including defendant number)

$I   ,960,8 I 8 joint and several with all liable co-defendants in Case No. I 3 CR 76 I .

tr       The defendant shall paythe cost ofprosecution.

tr       The defendant shall pay the following court cost(s):

n        The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (a) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
